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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             CASE NO: 22-14102-CV-MIDDLEBROOKS

   DONALD J. TRUMP,

          Plaintiff,

   V.


   HILLARY R. CLINTON, et al. ,

          Defendants.
   - -- - - - - - - - - - - - - - - -I
                                                ORDER

          The Court has reviewed Plaintiffs Amended Complaint. To the extent that the allegations

   against certain Defendants, and therefore the arguments relied on by those Defendants in support

   of dismissal, remain unchanged, and in the interest of reducing costs in this action, Defendants are

   advised that they may readopt their prior Motions to Dismiss if they so choose.

          Moreover, to the extent that the various Defendants seek to raise the same arguments, they

   are encouraged to consolidate their responses where appropriate.

          SIGNED in Chambers in West Palm Beach, Florida on this 23r




                                                                United States District Judge

   cc:    Counsel of Record




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